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November 21, 2022

VIA ECF


The Honorable Judge Lorna G. Schofield
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007


Re:      Dicks v. Everyday Health, Inc. d/b/a BabyCenter, LLC, Case No. 1:22-cv-07875-LGS


Dear Judge Schofield:

We represent Defendant Everyday Health, Inc. d/b/a BabyCenter, LLC (“Defendant”) in the above-
referenced matter. We respectfully move the Court to extend Defendant’s deadline to answer, move, or
otherwise respond to the Plaintiff’s Complaint from November 18, 2022 to December 19, 2022.

Defendant’s counsel was just retained. Plaintiff’s counsel has consented to this extension, which will permit
Defendant’s counsel to investigate and the parties to communicate regarding Plaintiff’s allegations. There
have been no prior extensions.




                                                                     Respectfully submitted,



                                                                     /s/ Karla Del Pozo García
                                                                     Karla Del Pozo García


cc:     All counsel of record (by ECF)




Sirote ► Adepetun Caxton-Martins Agbor & Segun ► Davis Brown ► East African Law Chambers ► Eric Silwamba, Jalasi and Linyama ►
Durham Jones & Pinegar ► LEAD Advogados ► Rattagan Macchiavello Arocena ► Jiménez de Aréchaga, Viana & Brause ► Lee International ►
Kensington Swan ► Bingham Greenebaum ► Cohen & Grigsby ► Sayarh & Menjra ► For more information on the firms that have come together
to form Dentons, go to dentons.com/legacyfirms
